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                                                       8
                                                           Attorneys for Defendant Bank of America, N.A.
                                                       9
                                                                                      UNITED STATES DISTRICT COURT
                                                      10
                                                                                              DISTRICT OF NEVADA
                                                      11

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                                                           RICHARD ZEITLIN, ADVANCED                       Case No.: 2:18-cv-01919-RFB-BNW
                                                           TELEPHONY CONSULTANTS, MRZ
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                                                      14
                                                           MANAGEMENT, LLC, DONOR
                               L.L.P.




                                                      15   RELATIONS, LLC, TPFE, INC., AMERICAN
                                                           TECHNOLOGY SERVICES, COMPLIANCE                  UNOPPOSED MOTION TO EXCEED
                                                      16   CONSULTANTS, CHROME BUILDERS                     PAGE LIMIT PURSUANT TO LOCAL
                                                           CONSTRUCTION, INC., UNIFIED DATA                 RULE 7-3(c) FOR DEFENDANT BANK
                                                      17   SERVICES;                                        OF AMERICA’S OPPOSITION TO
                                                                                                            PLAINTIFFS’ SECOND MOTION TO
                                                      18                        Plaintiffs,                 COMPEL (ECF NO. 195)

                                                      19   v.

                                                      20   BANK OF AMERICA, N.A. and JOHN AND
                                                           JANE DOES 1-100,
                                                      21
                                                                                Defendants.
                                                      22

                                                      23          Pursuant to Local Rules 7-3(c), Defendant Bank of America, N.A. (“BANA”), by and

                                                      24   through their respective undersigned counsel of record, submits this Unopposed Motion to

                                                      25   Exceed Page Limit Pursuant to Local Rule 7-3(c) for Defendant Bank of America’s Opposition to

                                                      26   Plaintiffs’ Second Motion to Compel (ECF No. 195) (“Motion to Exceed Page Limit”).

                                                      27   ///

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                                                       1          This Motion to Exceed Page Limit is based on the Declaration of Holly E. Cheong, Esq.
                                                       2   (attached hereto as Exhibit A), the Memorandum of Points and Authorities below, the papers and
                                                       3   pleadings on file with the Court, and any oral argument that this Court may entertain on behalf of
                                                       4   BANA.
                                                       5                       MEMORANDUM OF POINTS AND AUTHORITIES
                                                       6          On May 12, 2021, this Court granted Plaintiffs permission to file their Second Motion to
                                                       7   Compel in excess of the page limits up to 45 pages in length, excluding exhibits, caption, table of
                                                       8   contents, table of authorities, and certificate of service. (ECF No. 111.)
                                                       9          Consistent with LR 7-3(c), this Motion to Exceed Page Limits is submitted in advance of
                                                      10   the deadline for BANA’s Opposition to Plaintiffs’ Second Motion to Compel, due December 6,
                                                      11   2021, and it is supported by a declaration stating the reasons additional pages are needed and
                                                      12   identifying the number of total pages needed as forty-two (42) for BANA’s Opposition, excluding
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                                                      13   certificate of service, tables of contents and authorities, and any exhibits. This exceeds the
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                                                      14   twenty-four page limit set forth by LR 7-3(b) by eighteen (18) pages. See Ex. A.
                               L.L.P.




                                                      15          Good cause exists to extend the page limit for BANA’s Opposition. The local rule limits
                                                      16   discovery motions and responses to 24 pages. LR 7-3(b). However, this Court granted Plaintiffs
                                                      17   up to 45 pages for their Second Motion to Compel. (ECF No. 111.) Plaintiffs’ Second Motion to
                                                      18   Compel is 42 pages, excluding exhibits, caption, table of contents, table of authorities, and
                                                      19   certificate of service. In order to fully address the arguments in Plaintiffs’ Second Motion to
                                                      20   Compel, with its excess pages approved by this Court, BANA requires an equal number of pages
                                                      21   as BANA is unable to complete a comprehensive opposition without exceeding the limitation of
                                                      22   24 pages pursuant to Local Rule 7-3(b). See Ex. A. BANA consulted with Plaintiffs prior to
                                                      23   filing this Motion and Plaintiffs indicated that they would not oppose this Motion.
                                                      24          In sum, good cause exists for the Court to grant BANA leave to exceed the permissible
                                                      25   page limit and allow its Opposition to Plaintiffs’ Second Motion to Compel to be up to and
                                                      26   including forty-two (42) pages in length provided that it includes a table of contents and table of
                                                      27   authorities in compliance with Local Rule 7-3(c).
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                                                       1                                           CONCLUSION
                                                       2          For the reasons stated herein, BANA respectfully requests that this Court enter an order
                                                       3   granting BANA leave, pursuant to Local Rule 7-3(c), to file its Opposition to Plaintiffs’ Second
                                                       4   Motion to Compel up to and including forty-two (42) pages in length, excluding exhibits, caption,
                                                       5   table of contents, table of authorities, and certificate of service, and enter an order in the form
                                                       6   attached hereto as Exhibit B.
                                                       7                                                    Dated: December 2, 2021
                                                       8
                                                                                                            SNELL & WILMER L.L.P.
                                                       9
                                                                                                             /s/ Holly E. Cheong
                                                      10                                                    Amy F. Sorenson, Esq.
                                                                                                            Nevada Bar No. 12495
                                                      11                                                    Blakeley E. Griffith, Esq.
                                                                                                            Nevada Bar No. 12386
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                                                      14
                               L.L.P.




                                                      15                                                    Attorneys for Defendant Bank of America,
                                                                                                            N.A.
                                                      16

                                                      17
                                                                                                Order
                                                      18                              IT IS SO ORDERED
                                                      19                              DATED: 7:35 am, December 03, 2021
                                                      20

                                                      21
                                                                                      BRENDA WEKSLER
                                                      22                              UNITED STATES MAGISTRATE JUDGE
                                                      23

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                                                       1                                  CERTIFICATE OF SERVICE
                                                       2          I hereby certify that on this date, I electronically filed the foregoing UNOPPOSED
                                                       3   MOTION TO EXCEED PAGE LIMIT PURSUANT TO LOCAL RULE 7-3(c) FOR
                                                       4   DEFENDANT BANK OF AMERICA’S OPPOSITION TO PLAINTIFFS’ SECOND
                                                       5   MOTION TO COMPEL (ECF NO. 195) with the Clerk of the Court for the U. S. District
                                                       6   Court, District of Nevada by using the Court’s CM/ECF system. Participants in the case who are
                                                       7   registered CM/ECF users will be served by the CM/ECF system.
                                                       8          DATED: December 2, 2021.
                                                       9
                                                                                                       /s/ Maricris Williams
                                                      10                                              An Employee of Snell & Wilmer L.L.P.

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                                                       1                                     INDEX OF EXHIBITS
                                                       2   Exhibit No.      Description                                    No. of Pages
                                                       3   A                Declaration of Holly E. Cheong, Esq.           2
                                                           B                Proposed Order                                 2
                                                       4
                                                           4880-7471-9237
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                               L.L.P.




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